     Case
UNITED     19-25712-RG
        STATES           Doc 61-4
                BANKRUPTCY    COURT  Filed 06/28/22 Entered 06/28/22 14:08:36               Desc
DISTRICT OF NEW JERSEY     Certificate of Service Page 1 of 2
Caption in Compliance with D.N.J. LBR-
9004-1
 KML Law Group, P.C.
 By: Brian C. Nicholas Esquire
 701 Market Street, Suite 5000
 Philadelphia, PA 19106
 201-549-5366
 Attorneys for Secured Creditor: LAKEVIEW
 LOAN SERVICING LLC




 In Re:                                       Case No:       19-25712 RG
 Marcelino Arroyo aka Marcelino Blake-
 Arroyo                                       Chapter:       13
 Aretha Blake-Arroyo
               Debtor                         Judge:         Rosemary Gambardella




                                  CERTIFICATION OF SERVICE

   1. I, Thomas Diruscio:

        Represent the                          in the above-captioned matter.
        am the secretary/paralegal for Brian C. Nicholas, who represents the Secured Creditor in
   the above captioned matter.
        am the                          in the above case and am representing myself.

   2. On 06/28/2022, I sent a copy of the following pleadings and/or documents to the parties
      listed in the chart below:

          Certification of Default
          Proposed Order
          Exhibits
          Certification of Service

   3. I hereby certify under penalty of perjury that the above documents were sent using the mode
      of service indicated.
   Dated: 06/28/2022                     /S/ Thomas Diruscio
 Case 19-25712-RG       Doc 61-4 Filed 06/28/22 Entered 06/28/22 14:08:36          Desc
                          Certificate of Service Page 2 of 2


Name and Address of Party Served   Relation of Party             Mode of Service
                                      to the Case
                                   Debtor
 Marcelino Arroyo aka Marcelino                          Hand-delivered
 Blake-Arroyo
 4 Pine Street                                           Regular mail
 Hackensack, NJ 07601                                    Certified mail/RR
 Aretha Blake-Arroyo
 4 Pine Street                                           E-mail
 Hackensack, NJ 07601                                    Notice of Electronic Filing
                                                        (NEF)

                                                         Other
                                                        ______________________
                                                          (as authorized by the court *)
                                   Attorney for
                                   Debtor                Hand-delivered
 Ryan L. Gentile
                                                         Regular mail
 Law Offices of Gus Michael
 Farinella, PC                                           Certified mail/RR
 110 Jericho Turnpike, Suite 100
                                                         E-mail
 Floral Park, NY 11001
                                                         Notice of Electronic Filing
                                                        (NEF)

                                                         Other
                                                        ______________________
                                                          (as authorized by the court *)
                                   Chapter 13 Trustee
                                                         Hand-delivered
 Marie-Ann Greenberg
 30 Two Bridges Road; Suite 330                          Regular mail
 (VIA ECF)                                               Certified mail/RR
 Fairfield, NJ 07004
                                                         E-mail

                                                         Notice of Electronic Filing
                                                        (NEF)

                                                         Other
                                                        ______________________
                                                          (as authorized by the court *)
